DATE: November 6, 2024


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Matthew Keil
             v. Jim O’Sullivan, in his official capacity as
                Sheriff of the City of Chesapeake, Virginia
             Record No. 1621-23-1
             Opinion rendered by Judge Lorish on
              August 27, 2024

          2. Stafford County Board of Zoning Appeals, et al.
             v. John L. Grove, II, et al.
             Record No. 2023-23-4
             Opinion rendered by Judge AtLee on
              August 27, 2024

          3. Juhwaan Barnes
              v. Commonwealth of Virginia
              Record No. 0372-23-2
              Opinion rendered by Judge Raphael on
               September 3, 2024

          4. Avonlea LLC
             v. Karl Moritz, Director of Planning and Zoning for the City of Alexandria, et al.
             Record No. 0952-23-4
             Opinion rendered by Senior Judge Annunziata on
              September 3, 2024

          5. Lindsey Nicole Perkins
             v. Rebecca Lynn (Hicks) Howington, et al.
             Record No. 1239-23-3
             Opinion rendered by Judge Ortiz on
              September 10, 2024

          6. Ryan Douglas Roberts
             v. Commonwealth of Virginia
             Record No. 1427-23-2
             Opinion rendered by Judge Raphael on
              September 17, 2024
7. Elwood Lewis Thomas
   v. Commonwealth of Virginia
   Record No. 1429-22-4
   En banc opinion rendered by Judge Raphael on
    September 17, 2024
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Arun Rashid Turay
   v. Commonwealth of Virginia
   Record No. 0868-21-3
   En banc opinion rendered by Judge Lorish
     on December 19, 2023
   Refused (240134)

2. Donald Rosson
   v. Erie Insurance Exchange
   Record No. 1283-22-2
   Opinion rendered by Judge Athey
     on December 19, 2023
   Refused (240184)

3. Smith Development, Inc.
   v. Martin C. Conway, et al.
   Record No. 1245-22-4
   Opinion rendered by Judge Raphael
     on January 9, 2024
    Refused (240175)

4. John B. Russell, Jr.
    v. Commonwealth of Virginia
   Record No. 822-22-2
    Opinion rendered by Judge Callins
      on January 30, 2024
    Refused (240280)

5. Joshua Stanton
    v. Virginia Beach – Fire Operations
   Record No. 0344-23-1
    Opinion rendered by Senior Judge Humphreys
      on January 30, 2024
    Refused (240391)

6. Robert Marshall Cornelius
   v. Commonwealth of Virginia
   Record No. 0187-23-3
   Opinion rendered by Judge Huff
     on February 13, 2024
   Refused (240211)
7. Carlos Ibanez, et al.
   v. Albemarle County School Board, et al.
   Record No. 0951-22-2
   Opinion rendered by Judge Lorish
     on February 20, 2024
   Refused (240236)


8. Hunter Lee, III
   v. Commonwealth of Virginia
   Record No. 0053-23-3
   Opinion rendered by Judge Beales
     on May 7, 2024
   Refused (240458)
       On October 24, 2024, the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Kevin Thomas King
       v. Commonwealth of Virginia
       Record No. 0484-22-3
       Memorandum opinion rendered by Judge Friedman on June 13, 2023
       Judgment of Court of Appeals affirmed by opinion rendered on October 24, 2024
       (230483)
